Case 1:18-cv-03462-GLR Document 1-2 Filed 11/08/18 Page 1 of 9




                   Exhibit
                             2
Case 1:18-cv-03462-GLR Document 1-2 Filed 11/08/18 Page 2 of 9
Case 1:18-cv-03462-GLR Document 1-2 Filed 11/08/18 Page 3 of 9
Case 1:18-cv-03462-GLR Document 1-2 Filed 11/08/18 Page 4 of 9
Case 1:18-cv-03462-GLR Document 1-2 Filed 11/08/18 Page 5 of 9
Case 1:18-cv-03462-GLR Document 1-2 Filed 11/08/18 Page 6 of 9
Case 1:18-cv-03462-GLR Document 1-2 Filed 11/08/18 Page 7 of 9
Case 1:18-cv-03462-GLR Document 1-2 Filed 11/08/18 Page 8 of 9
Case 1:18-cv-03462-GLR Document 1-2 Filed 11/08/18 Page 9 of 9
